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   7   JEAN CHEN
   8
                            UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
  10
                                   WESTERN DIVISION
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       SECURITIES AND EXCHANGE                  CASE NO. 2:17-cv-06929-PA-JEM
  13   COMMISSION,
                                                ORDER GRANTING SECOND
  14                  Plaintiff,                STIPULATION AUTHORIZING
                                                DEFENDANT JEAN CHEN TO
  15         vs.                                SELL REAL PROPERTY
  16   EDWARD CHEN, JEAN CHEN,                  Judge: Hon. Percy Anderson
       HOME PARADISE INVESTMENT
  17   CENTER LLC, GH INVESTMENT LP,            Courtroom: 9A
       GH DESIGN GROUP, LLC, GOLDEN
  18   GALAXY LP, MEGA HOME, LLC,
  19                  Defendant.
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  28                                                       [PROPOSED] ORDER GRANTING
                                                      SECOND STIPULATION AUTHORIZING
                                                     DEFENDANT JEAN CHEN TO SELL REAL
                                                                            PROPERTY
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   1          The Court having considered the Parties’ Second Stipulation Authorizing
   2   Defendant Jean Chen to Sell Personal Real Property (“Stipulation”), and for good
   3   cause shown, it is hereby ORDERED that the Stipulation is GRANTED and:
   4                1. Ms. Chen may sell the thirteen parcels of real estate located at the
   5   below addresses:
   6                    10332 Jefferson St, Yucaipa, CA (APN 0320-231-02, 0320-231-
   7                       03, 0320-231-09, 0320-231-10);
   8                    VAC/120 St. E./Vic Ave. K10 Roosevelt, CA (APN 3370-011-
   9                       004);
  10                    California St., Yucaipa, CA (APN 0319-212-09);
  11                    Broadway, Joshua Tree, CA (APN 0605-051-01);
  12                    La Ferney Rd., Joshua Tree, CA (APN 0605-051-09);
  13                    Fourth St., Joshua Tree, CA (APN 0605-051-12);
  14                    VAC/11th St. W./Vic Ave. N. 12, Palmdale, CA (APN 3005-015-
  15                       021);
  16                    VAC/Vic Ave. W. 12/127 St. E., Pearblossom, CA (APN 3038-
  17                       031-052);
  18                    VAC/Cor. 8 St. W./Ave. E. 8, Redman, CA (APN 3145-035-022);
  19                       and
  20                    Lake Elsinore, CA (APN 383-164-021);
  21                2. Proceeds from the sales of these parcels of real estate, or the three parcels of real

  22   estate authorized for sale in the Court’s June 22, 2018 Order, may be transferred to the Golden

  23   Galaxy project’s lender’s fund control account, Dixieline Builders Fund Control Inc.,

  24   ******4045 Fund contract No *9310 at Wells Fargo Trust Account – San Diego; and

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  28                                                                        [PROPOSED] ORDER GRANTING
                                                                       SECOND STIPULATION AUTHORIZING
                                                         -1-          DEFENDANT JEAN CHEN TO SELL REAL
                                                                                             PROPERTY
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   1               3. All proceeds from the sales of these parcels of real estate, or the three parcels of
   2   real estate authorized for sale in the Court’s June 22, 2018 Order, that are not transferred into the

   3   Golden Galaxy project’s lender’s fund control account must be placed into and remain in a frozen

   4   account pending further order from the Court.

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   7   IT IS SO ORDERED
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  11   DATED: August 23, 2018
                                                                   Percy Anderson
  12                                                       UNITED STATES DISTRICT JUDGE
  13   LEGAL_US_W # 95300302.3

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  28                                                                      [PROPOSED] ORDER GRANTING
                                                                     SECOND STIPULATION AUTHORIZING
                                                        -2-         DEFENDANT JEAN CHEN TO SELL REAL
                                                                                           PROPERTY
